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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

CHRIS RISTICK,
and all others similarly situated,

       Plaintiffs,
v.                                              C.A. No.: 1:18-cv-06805
                                            COLLECTIVE ACTION
COMPREHENSIVE QUALITY
CARE, INC. FOUNDATION, ET AL.,

      Defendants.
__________________________________/

          STIPLATED MOTION FOR ENTRY OF CONSENT JUDGMENT AND
                       DISMISSAL WITH PREJUDICE

       Plaintiff, CHRIS RISTICK, and Defendant, JOHN MARSHALL TAR, stipulate and agree

that attached Consent Judgment shall be rendered in favor of Plaintiff and against the Defendant,

JOHN MARSHALL TAR, for the sum of $10,000.00. This amount resolves all of the Plaintiff’s

claims against the Defendant, JOHN MARSHALL TAR.

       Plaintiff, CHRIS RISTICK, and Defendant, JOHN MARSHALL TAR, further stipulate

and agree to the dismissal of Plaintiff’s claims asserted in this action against Defendant, JOHN

MARSHALL TAR, with prejudice.


                                     /s/ Charles L. Scalise
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                                     Attorney-in-Charge
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